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                          EXHIBIT 69
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                   Observed Association between Antidepressant Use and

0                  Pneumonia Risk Was Confounded by Comorbidity Measures

                   Sean Hennessy, PharmD, Phdl ,2,3 , Warren B. Bilker, Phdl ,2,3 , Charles E. Leonard,
                   PharmD 1,2,3 , Jesse Chittams, MS1,2,3, Cristin M. Palumbo, MPH 1,2,3 Jason H. Karlawish,
                   MD 1 ' 4 , Yu-Xiao Yang, MD, MSCE 1,3,4 Ebbing Lautenbach, MD, MPH, MSCE 1,2,3,4 William
c
                   B. Baine, MD 5 , and Joshua P. Metlay, MD, PhD1,2,3,4,6
                   1 Center for Clinical Epidemiology and Biostatistics, University of Pennsylvania School of Medicine,
                   Philadelphia, PA
                   2Developing Evidence to Inform Decisions about Effectiveness (DEcIDE) Center, University ofPennsylvania
                   School of Medicine, Philadelphia, PA
                   3Center for Education and Research on Therapeutics, University of Pennsylvania School of Medicine,
'i                 Philadelphia, PA
                   4Department of Medicine, University of Pennsylvania School of Medicine, Philadelphia, PA
'U
                   5Center for Outcomes and Evidence, Agency for Healthcare Research and Quality, US Department of I -Iealth
D                  and Human Services, Rockville, MD
C
1
0                  6Department of Veterans Affairs, Philadelphia, PA

                   Abstract
C
Cr,                      Objective—A prior study suggested that antidepressants might increase the risk of hospitalization
C.)
                         for pneumonia in the elderly. This study sought to confirm or refute this hypothesis.
r,.
                         Study Design and Setting—Case-control study of persons age 65 and above nested in the UK
                         General Practice Research Database.
                         Results—We identified 12,044 cases of the hospitalization for pneumonia (the primary outcome)
                        and 48,176 controls. The odds ratio (OR) for any antidepressant use, adjusting for age, sex, and
                        calendar year was 1.61 (95% confidence interval 1.46 to 1.78). After further adjustment for
                        comorbidity measures, the OR was 0.89 (0.79 to 1.00). We also identified 159 cases of hospitalization
=L                      for aspiration pneumonia (the secondary outcome) and 636 controls. The OR for any antidepressant
                        use, adjusted for age, sex, and calendar year was 1.45 (0.65 to 3.24). After further adjustment for
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D                       comorbidity measures, the OR was 0.63 (0.23 to 1.71).
D
C                       Conclusion —These findings refute the prior hypothesis that use of antidepressants by elderly
                        patients increases the risk of hospitalization for pneumonia or for aspiration pneumonia. Decisions
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                        regarding use of antidepressants in elderly persons should not be affected by concern about
                        pneumonia risk. Data-derived hypotheses should be independently confirmed before being acted
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                  Keywords

r~                      aged; antidepressive agents; pneumonia; pneumonia, aspiration; pharmacoepidemiology


                  1. Introduction
D
C                                Pneumonia is a major cause of morbidity and mortality in the elderly. Together with influenza,
0-                               pneumonia constitutes the fifth leading cause of death in those age 65 years and older in the
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                                 US, behind heart disease, cancer, stroke, and chronic lower respiratory diseases [ 1]. The
                                 incidence of hospitalization for pneumonia for those age 65 years and older in the US increased
                                 by 20% from 1988 to 2002 [2]. One major etiologic factor for pneumonia in the elderly is
c
                                 aspiration of oropharyngeal contents [3,4]. Although the clinical diagnosis of aspiration as a
                                 cause of pneumonia is often uncertain [4,5], the incidence of hospitalization for diagnosed
                                 aspiration pneumonia in US elderly nearly doubled between 1991 and 1998 [6].

                                 A recent study undertaken to identify possible signals of iatrogenic illness in the elderly found
                                 that hospitalization for aspiration pneumonia was three times as likely to occur in the ninety-
                                 day period following a hospitalization for depression as in the ninety-day period preceding a
                                 hospitalization for depression [7], leading to the hypothesis that antidepressant drugs may
                                 increase the risk of aspiration pneumonia. If true, such an effect could have major therapeutic
ii
                                 implications for the treatment of elderly depressed patients, since the benefit of
                                 pharmacotherapy would need to be weighed against the risk of aspiration pneumonia, a serious
                                 outcome. However, this prior study was limited in that it identified diagnoses occurring
                                 disproportionately after vs. before hospitalizations for depression in order to identify potential
C                                signals. It did not measure exposure to antidepressants or attempt to control for patient factors
0                                that may change over time.

C,)                              The objective of this study was to evaluate the hypothesis that antidepressant use in the elderly
                                 is associated with hospitalization for pneumonia (our primary aim) or hospitalization for
C
                                 aspiration pneumonia or pneumonitis (our secondary aim).
n

                  2. Subjects and methods
                  2.1. Overview and study population
                                 We performed an observational case-control study nested within the General Practice Research
                                 Database (GPRD) from the UK. GPRD data constitute the primary outpatient electronic
                                 medical records from approximately two thousand general practitioners (GPs) in the UK.
                                 Within the UK, approximately 98% of the population is registered with a GP, and virtually all
L!
                                 patient care is coordinated by the GP through the National Health Service. The database is
                                 broadly representative of the UK population in terms of age, sex, and geography. More than
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                                 500 published epiderniologic studies have been performed using this database. The GPRD
                                 records outpatient prescriptions, outpatient diagnoses, and hospital diagnoses that are entered
C                                in response to receipt of a consultant's letter or discharge summary [8]. We used GPRD data
0                                entered from its establishment in 1987 through April 2002, and included only data classified
                                 as "up-to-standard" for identifying exposures and outcomes [8].
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C                 2.2 Study base
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n                                The person-time eligible for inclusion in this nested case-control study (i.e., the study base
                                 within which the case-control study was nested) was all up-to-standard person-time occurring
                                 in individuals age 65 years and above with at least six months of prior up-to-standard follow-
                                 up in whom no instance of the study outcome had yet occurred. We required at least six months


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                               of data prior to study eligibility to ensure an adequate period in which to measure baseline
                               variables. Cases and controls were sampled from this study base using incidence density
                               sampling, as described below, which results in odds ratios (ORs) that are interpretable as
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                               incidence rate ratios [9].

                2.3 Identification of cases
                               Cases of the primary outcome consisted of all individuals who were hospitalized with
C
                               pneumonia at any time following the six month anniversary date ofthat person's up-to-standard
0                              entry date. Cases of the secondary outcome consisted of persons who were hospitalized with
1
                               aspiration pneumonia or aspiration pneumonitis at any time following the six month
                               anniversary date of that person's up-to-standard entry date. The index date for cases was the
C                              date of the case event. For persons with more than one case event, we included only the first
to                             event. Diagnostic codes for the study outcomes are listed in the Appendix.
0


                2.4 Identification of controls
                               For each case, we randomly selected four controls from the same GP practice using incidence
                               density sampling [9] based on amount of time in the study base. In particular, potential controls
                               were persons who contributed person-time to the study base (defined above), who had not yet
                               experienced the relevant study outcome before the corresponding case's event, assessed with
                               respect to entry into the study base. The index date for controls was defined as the date of entry
ii                             into the study base plus the number of days of event-free follow-up contributed by the
                               corresponding case. This is analogous to time-to-event analyses of cohort studies, and ensures
                               the interpretability of the resulting odds ratios as incidence rate ratios [9].

C               2.5 Ascertainment of exposure
0                              The principal exposure definition was a recorded prescription for any antidepressant
                               medication in the thirty days preceding the index date. Prescriptions for chronically
tv                             administered medications in the UK are issued in one-month increments. In order to obtain
C                              repeat prescriptions (i.e., prescription refills), patients must telephone or visit the GP office,
0                              which then issues and records a repeat prescription. To confirm the tendency to provide a one-
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D
                               month supply per prescription, we examined the frequency distribution of the number of days
                               between subsequent prescriptions for commonly used antidepressants for the same patient.
                               There was a very strong central tendency (i.e., mode and median) for repeat prescriptions to
                               be issued approximately every thirty days (data not shown). In addition to considering exposure
                               to any antidepressant, we also performed sub-analyses of the two major subclasses: cyclic
                               agents (arnitriptyline, amoxapine, butriptyline, clomipramine, desipramine, dibenzepin,
                               dosulepin, doxepin, imipramine, iprindole, lofepramine, maprotiline, mianserin, mirtazapine,
R5                             nortriptyline, opipramol, protriptyline, trimipramine) and selective serotonin uptake inhibitors
                               and selective serotonin and norepinephrine inhibitors (SSRI/SSNRIs; citalopram, duloxetine,
0                              escitalopram, fluoxetine, fluvoxamine, paroxetine, sertraline, venlafaxine, zimeldine).

                2.6 Ascertainment of potential confounding factors
C
                               Potential confounding factors were ascertained based on the index date. These are listed in
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                               Table I and Table 2, and included demographic factors, diagnoses ever recorded in the past
                               (focusing on conditions previously implicated as risk factors for pneumonia, including chronic
.y
                               neurologic and pulmonary conditions [4]), drug prescribed ever in the past (as markers of
C
to                             disease), currently prescribed drugs (i.e., within the past thirty days), and measures of morbidity
0                              and health care utilization (e.g., number of non-antidepressant prescriptions in the prior thirty
                               days, number of GP visits for non-depression diagnoses in the prior thirty days, number of
                               hospitalizations in the prior six months).



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                  2.7 Statistical analysis
                                 We first compared cases to controls with respect to antidepressant exposure and potential
                                 confounding factors, We next used conditional logistic regression to fit a "minimally adjusted"
                                 model that estimated the odd ratio (OR) for antidepressant use adjusting for age (expressed as
-
    ti                           a continuous variable), sex, and calendar year (to account for potential secular trends in
                                 pneumonia hospitalization and antidepressant use). We then examined each potential
                                 confounding factor individually using a change-in-estimate criterion [10]. In particular, we
                                 individually added each potential confounding factor to the minimally adjusted model. If any
0                                factor changed the OR of interest by ten percent or more, we considered it to be a confounding
                                 factor and retained it in the "change-in-estimate" adjusted model. We used this same strategy
                                 to examine the association with each antidepressant subclass. However, because of the small
C                                number of events of the secondary outcome (aspiration pneumonia), we were unable to examine
to
C)                               associations for this outcome with specific antidepressant subclasses. We used SAS version
                                 9.1 for all analyses.

                                 The incidence of pneumonia is expected to peak during the winter months and decline during
                                 the summer, whereas antidepressant therapy might be prescribed year-round. We compared
                                 the seasonal distribution of hospitalization for pneumonia in patients with and without exposure
                                 to antidepressants using the method of Edwards [11]. This sums the vectors for the number of
                                 cases in each month extending from a common origin to the midpoints of twelve equal sectors
                                 of a circle from January (0 to 30 0 ) through December (330 to 360°).

                                 Based on pilot data, our apriori power calculations suggested that using a two-tailed a of 5%,
    0
                                 we would have 85% statistical power to detect an OR for exposure to any antidepressant of
                                 1.07 or higher for pneumonia hospitalization, and an OR of 1.5 or higher for hospitalization
C
                                 for aspiration pneumonia or pneumonitis [ 12].
0

                  3. Results
C                 3.1. Primary outcome: hospitalization for pneumonia
C)                               We identified 12,044 cases of hospitalization for pneumonia. For each case, we identified four
                                 controls, for a total of 48,176 controls. Table 1 presents a comparison of cases and controls for
                                 the primary outcome. Cases were older than controls (median age 81 vs. 75), and had a
                                 substantially higher number of non-depression GP visits in the prior six months (average 2.8
                                 vs. 0.8), hospital visits over the prior six months (mean 0.72 vs. 0.13), and number of non-
                                 antidepressant prescriptions in the prior month (mean 3.6 vs. 2.0). Most diagnoses, drugs
                                 prescribed ever in the past, and currently prescribed drugs examined were substantially more
                                 common among cases than controls (Table 1).

                                 The OR (95% CI) for the association between pneumonia hospitalization and any
                                 antidepressant use, adjusted for age, sex, and calendar year (i.e., the minimally adjusted model)
                                 was 1.61 (1.46 to 1.78). However, when further adjusting for factors in Table 1 that changed
                                 the OR by ten percent or more (number of non-depression GP visits in the prior six months,
C
                                 ever past benzodiazepine prescription, and ever past antipsychotic prescription) the OR (95%
0                                CI) was 0.89 (0.79 to 1.00) (Table 1).

C')                              In the analysis of the major antidepressant subclasses, the ORs for cyclic antidepressants,
C                                SSRIs/SSNRIs, and other agents were similar to the corresponding OR for any antidepressant
C-)                              in baseline model (Table 1). The change-in-estimate adjusted ORs for cyclic agents and SSRI/
                                 SSNRIs were also similar to the corresponding OR for antidepressants as a whole (Table 1).

                                 The seasonal vector of hospitalization for pneumonia in patients without prescriptions for
                                 antidepressants showed the expected pronounced wintertime peak (0.088 units at 27°, i.e., late


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                                January). This vector was closely matched in both relative amplitude and direction (0.103 units
                                at 23°) by that of hospitalization for pneumonia in patients who were receiving antidepressants
                                (data not shown).

                 3.2 Secondary outcome: hospitalization for aspiration pneumonia or aspiration pneumonitis
                                We identified 159 cases of hospitalization for diagnosed aspiration pneumonia or pneumonitis,
                                and 636 controls. Table 2 presents a comparison of cases and controls for the secondary
C
                                outcome. The relationships of the factors presented in Table 2 with hospitalization for
0                               aspiration pneumonia or pneumonitis were similar to those seen for the primary outcome,
                                although the confidence intervals are much wider in Table 2 because of the small number of
                                events. The OR (95% Cl) for any antidepressant use, adjusted for age, sex, and calendar year
C                               was 1.45 (0.65 to 3.24). When further adjusting for factors in Table 2 that changed the OR by
C)                              ten percent or more (number of non-depression GP visits in the prior six months, ever past
                                benzodiazepine prescription, and ever past antipsychotic prescription) the OR (95% CI) was
                                0.63 (0.23 to 1.71) (Table 2). There were not enough users of specific antidepressant subclasses
                                with this outcome to analyze these subclasses separately.

                 4. Discussion
                                The purpose of this study was to further evaluate the hypothesis that antidepressants may
r~                              increase the risk of hospitalization for aspiration pneumonia in the elderly [7]. This signal arose
                                in the context of a systematic process to screen for iatrogenic factors that may lead to
                                depression, and for complications of depression treatment. The positive association that we
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                                observed between antidepressants and pneumonia hospitalization, the primary outcome, before
                                adjusting for clinical variables, is consistent with, but somewhat lower than (1.6 vs. 3.0) the
C
                                earlier signal that hospitalization for aspiration pneumonia in the elderly is more common after
0                               than before a hospitalization for depression. In other words, pneumonia hospitalization does
                                indeed seem to be more common in antidepressant users. However, the earlier study [7]
                                screened administrative claims data with the goal of identifying a potential wide range of
C_C                             potential signals to be further tested, did not measure actual exposure to antidepressant drugs,
C)1                             and made no attempt to control for patient factors that may change over time. In contrast, the
-'                              current study focused on examining a particular association, with an emphasis on controlling
                                for confounding.

                                The results of this study are reassuring that, once comorbidity measures are taken into account,
                                there is no evidence that antidepressants increase the risk of hospitalization for pneumonia in
                                the elderly. This is true for the general class of antidepressants and specifically for cyclic agents
                                and SSRIs/SSNRIs. This conclusion is reinforced by the observation that the occurrence of
Z                               pneumonia in patients prescribed antidepressants did not deviate from the expected wintertime
                                peak in incidence. In addition to following up a potential signal, and in the process providing
                                reassurance about the safety of antidepressants with regard to pneumonia in the elderly, this
                                study confirms earlier findings that increasing age and the presence of comorbidities are
                                strongly associated with pneumonia [13-17].
c
0                               This study has limitations. Although the GPRD is derived from the primary medical record,
                                and diagnoses recorded in the GPRD are generally regarded as being of high quality [8], these
                                study outcomes have not been specifically validated. However, misclassification of the
C                               outcome seems unlikely to be responsible for our negative findings because there was a positive
(Ti                             association between antidepressants and pneumonia in the minimally adjusted analysis. hl
C3
                                addition, we did confirm associations with pulmonary and neurologic conditions, and other
                                factors that would be expected to be associated with pneumonia. Exposure misclassification
                                could also have played a role, in that patients prescribed antidepressant drugs might not take
                                them, which could have tended to produce bias toward the null. However, exposure


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                                   misclassification would have resulted in bias toward the null in both the unadjusted and
                                   adjusted analyses. Because of the large number of cases of hospitalization for depression, and
                                   the narrow CIs for this effect estimate, type-2 error is unlikely to have played a prominent role
ii
                                   in the primary outcome. However, as we recognized at the outset, type-2 error is more of a
                                   concern for the secondary outcome.
D
                                   In conclusion, we performed a controlled epidemiologic study to follow up on a prior data-
C                                  derived hypothesis that, if true, could have had important therapeutic implications for elderly
                                   patients with depression. Although there was indeed an unadjusted association between
0
                                   antidepressant medication use and pneumonia hospitalization, the observed association
                                   appeared to be due to confounding by measured co-morbidity measures. This reinforces the
                                   need to independently confirm data-derived hypotheses before acting on them.
C
C.)
                   Acknowledgements

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                                   construed as endorsement by the Agency for Healthcare Research and Quality or the US Department of Health and
                                   Human Services. The authors acknowledge Maximilian Herlim for his statistical programming.



r                  Appendix

-b         Codes used to identify community-acquired Pneumonia.
           Code                             Description

C          AyuKA00                          KLEBSIELLA PNEUMONIAE/CAUSE/DISEASE CLASSIFD/OTH CHAPTERS
           AyuK900                          MYCOPLASMA PNEUMONIAE [PPLO]CAUSE/DIS CLASSIFD/OTH CHAPTR
0          HyuOAOO                          OTHER BACTERIAL PNEUMONIA
           Hyu0H00                          OTHER PNEUMONIA, ORGANISM UNSPECIFIED
           Hyu0900                          PNEUMONIA DUE TO OTHER AEROBIC GRAM-NEGATIVE BACTERIA
           Hyu0B00                          PNEUMONIA DUE TO OTHER SPECIFIED INFECTIOUS ORGANISMS
C          Hyu0C00                          PNEUMONIA IN BACTERIAL DISEASES CLASSIFIED ELSEWHERE
fn         AyuK300                          STREPTOCOC PNEUMON/CAUSE/DISEASE CLASSIFIED/OTII CHAPTERS
C-)        H530300                          ABSCESS OF LUNG WITH PNEUMONIA
1
           H470312                          ASPIRATION PNEUMONIA DUE TO VOMIT
           H28..00                          ATYPICAL PNEUMONIA
           H22z.00                          BACTERIAL PNEUMONIA NOS
           I-I261.00                        BASAL PNEUMONIA DUE TO UNSPECIFIED ORGANISM
           485                              BRONCI-IOPNEUMONIA
           H25..00                          BRONCHOPNEUMONIA DUE TO UNSPECIFIED ORGANISM
           H270.1 1                         CHEST INFECTION - INFLUENZA WITH PNEUMONIA
           H22..11                          CHEST INFECTION - OTHER BACTERIAL PNEUMONIA
           H26..11                          CHEST INFECTION - PNEMONIA DUE TO UNSPECIFIED ORGANISM
           H21..1I                          CHEST INFECTION - PNEUMOCOCCAL PNEUMONIA
           H23..11                          CHEST INFECTION - PNEUMONIA ORGANISM OS
0:         1-125.. 11                       CHEST INFECTION - UNSPECIFIED BRONCHOPNEUMONIA
           H24..I l                         CHEST INFECTION WITH INFECTIOUS DISEASE EC
 t         H233.00                          CI-ILAMYDIAL PNEUMONIA
           H22y011                          E.COLI PNEUMONIA
           H540100                          HYPOSTATIC BRONCHOPNEUMONIA
           I-I540000                        IYPOSTATIC PNEUMONIA
D          H56y 100                         INTERSTITIAL PNEUMONIA
C
           A3BXBOO                          KLEBSIELLA PNEUMONIAE/CAUSE/DISEASE. CLASSIFD/OTH CHAPTERS
0          H21..00                          LOBAR (PNEUMOCOCCAL) PNEUMONIA
-S         481 B                            LOBAR PNEUMONIA
           H260.00                          LOBAR PNEUMONIA DUE TO UNSPECIFIED ORGANISM
L1)        A3BXA00                          MYCOPLASMA PNEUMONIAE [PPLO] CAUSE/DIS CLASSIFD/OTH CHAPTR
           SP13100                          OTHER ASPIRATION PNEUMONIA AS A COMPLICATION OF CARE
C          H22..00                          OTHER BACTERIAL PNEUMONIA
fn         H2y..00                          OTHER SPECIFIED PNEUMONIA OR INFLUENZA
0          A3By400                          PLEUROPNEUMONIA-LIKE ORGANISM (PPLO) INFECTION
1
           486                              PNEUMONIA
           FI22y200                         PNEUMONIA - LEGIONELLA
           486 AP                           PNEUMONIA ASPIRATION
           483 AT                           PNEUMONIA ATYPICAL
           481 BA                           PNEUMONIA BASAL



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                 Codes used to identify cmnmunity-acct uired Pneumonia.
                 Code                               Description

        1        486 CA                             PNEUMONIA COLD AGGLUTININ POSITIVE
                 H22yz00                            PNEUMONIA DUE TO BACTERIA NOS
                 H230.00                            PNEUMONIA DUE TO EATON'S AGENT
                 H22y000                            PNEUMONIA DUE TO ESCHERICHIA COLI
                 H222.11                            PNEUMONIA DUE TO HAEMOPHILUS INFLUENZAE
    .-r          11222.00                           PNEUMONIA DUE TO HAEMOPHILUS INFLUENZAE
    0            H220.00                            PNEUMONIA DUE TO KLEBSIELLA PNEUMONIAE
                 11231.00                           PNEUMONIA DUE TO MYCOPLASMA PNEUMONIAE
                 H22yXOO                            PNEUMONIA DUE TO OTHER AEROBIC GRAM-NEGATIVE BACTERIA
    ci)          H22y.00                            PNEUMONIA DUE TO OTHER SPECIFIED BACTERIA
    C            1123..00                           PNEUMONIA DUE TO OTHER SPECIFIED ORGANISMS
                 FI232.00                           PNEUMONIA DUE TO PLEUROPNEUMONIA LIKE ORGANISMS
    Cl)
    0
                 H22y 100                           PNEUMONIA DUE TO PROTEUS
                 H221.00                            PNEUMONIA DUE TO PSEUDOMONAS
    r-r
                 H23z.00                            PNEUMONIA DUE TO SPECIFIED ORGANISM NOS
                 H224.00                            PNEUMONIA DUE TO STAPHYLOCOCCUS
                 H223.00                            PNEUMONIA DUE TO STREPTOCOCCUS
                 H223000                            PNEUMONIA DUE TO STREPTOCOCCUS, GROUP B
                 H26..00                            PNEUMONIA DUE TO UNSPECIFIED ORGANISM
                 483 E                              PNEUMONIA EATON'S AGENT
                 514 HP                             PNEUMONIA HYPOSTATIC
                 4820K                              PNEUMONIA KLEBSIELLA
                 483 M                              PNEUMONIA MYCOPLASMAL
                 7789AP                             PNEUMONIA NEWBORN ASPIRATION
    iI           H2z..00                            PNEUMONIA OR INFLUENZA NOS
                 481 A                              PNEUMONIA PNEUMOCOCCAL
                 483 AP                             PNEUMONIA PRIMARY ATYPICAL
    _Q
     k
                 4823                               PNEUMONIA STAPHYLOCOCCAL
                 1124..00                           PNEUMONIA WITH INFECTIOUS DISEASES EC
                 H24z.00                            PNEUMONIA WITH INFECTIOUS DISEASES EC NOS
                 H24y.00                            PNEUMONIA WITH OTHER INFECTIOUS DISEASES EC
    C            H24yz00                            PNEUMONIA WITH OTHER INFECTIOUS DISEASES EC NOS
    rt
                 H243.11                            PNEUMONIA WITH PERTUSSIS
    0            H24y400                            PNEUMONIA WITH SALMONELLOSIS
                 H243.00                            PNEUMONIA WITH WHOOPING COUGH
                 A022200                            SALMONELLA PNEUMONIA
    Q)           A3BX400                            STREPTOCOC PNEUMON/CAUSE/DISEASE CLASSIFIED/OTH CHAPTERS
C                Codes used to identify communitleguired aspiration pneumonia or pneumonitis
Cl)              Code                               Description
C)               Hyu4700                            [X]PNEUMONITIS DUE TO INHALATION OF OTHER SOLIDS AND LIQUIDS
                 H470312                            ASPIRATION PNEUMONIA DUE TO VOMIT
a
-
'-r              I147..11                           ASPIRATION PNEUMONITIS
                 SP13100                            OTHER ASPIRATION PNEUMONIA AS A COMPLICATION OF CARE
                 486 AP                             PNEUMONIA ASPIRATION
                 1-1470.00                          PNEUMONITIS DUE TO INHALATION OF FOOD OR VOMITUS
                 H470z00                            PNEUMONITIS DUE TO INHALATION OF FOOD OR VOMITUS NOS
                 H470100                            PNEUMONITIS DUE TO INHALATION OF GASTRIC SECRETIONS
                 H47y.00                            PNEUMONITIS DUE TO INHALATION OF OTHER SOLID OR LIQUID
                 H470000                            PNEUMONITIS DUE TO INHALATION OF REGURGITATED FOOD
                 H47z.00                            PNEUMONITIS DUE TO INHALATION OF SOLID OR LIQUID NOS [Sane
                 1I47yz00                           PNEUMONITIS DUE TO INHALATION OF SOLID OR LIQUID NOS OK?]
                 H47..00                            PNEUMONITIS DUE TO INHALATION OF SOLIDS OR LIQUIDS
                 H470300                            PNEUMONITIS DUE TO INHALATION OF VOMITUS
    k            H470311                            VOMIT INHALATION PNEUMONITIS



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                                                                          Table 1.
        Characteristics of cases and controls of hospitalization for pneumonia
                                                             Cases (N =               Controls (N =
                                                              12,044)                   48.176)
           median age in years (interquarlile               81 (74 to 86)             75 (70 to 81)
CPA        range)
           mean (SD) number of GP non-                        2.8 (3.1)                  0.8 (1.6)
 t         depression visits in prior six months
           mean (SD) number of non-                           3.6 (4.1)                  2.0 (2.9)
           antidepressant prescriptions in prior
D          month
C          mean (SD) number of hospital visits               0.72 (1.13)                0.13 (0.49)
rr
           over prior six months
0                                                               N (%)                      N ('%)                 Minimally adjusted OR                Change-in-
                                                                                                                       (95% CI)                         estimate
                                                                                                                                                      adjusted OR
U)                                                                                                                                                     (95% CI t
           male sex                                          5830 (48.5j                18484 40.4                   1.71 1.63 to 1.78
C
C/)        alcohol use                                       2882 23.9                  15846 32.9                   0.71 (0.68 to 0.75
C)         current smoking                                   3079 25.6                  10915 (22.7)                 1.57 1.49 to 1.65
           diagnoses ever in past
             Anterior lions motor neuron disease              30 0.3                     20 0.04                    7.29 (3.95 to 13.47
             Anxiety                                         1433(11.9)                 5099 10.6                    1.30 1.22 to 1.39
             bipolar disorder                                  33(0.3)                    76 0.2                    2.50 (1.61 to 3.88
             Chronic obstructive pulmonary                   2436 (20.2)                2992 (6.2)                   3.92 (3.67 to 4.18)
           disease
             cerebrovascular disease                         2096 17.4                  3829 (8.0)                   2.04 1.91 to 2. l7
             depression                                      2438 (20.2)                6730 14.0                    1.75 (1.65 to 1.86
             d s nhagia                                       454 3.8                    881 (1.8)                   2.10 1.85 to 2.38
             Heretic neuralgia / herpes zoster                916(7.6)                   3243 (6.7)                  1.15 (1.06 to 1.25
             insomnia                                        2712 22.5                  7083 (14.7)                  1.55 1.46 to 1.63
             Parkinson's disease                              220 1.8                    355 (0.7)                   1.82 1.52 to 2.19
             poor nutritional status                          120 1.0                     153 (0.3)                  2.84 (2.18 to 3.70
             schizophrenic disorders                           64(0.5)                   220 0.5                     L49 1.11 to 2.00
             senile dementia                                  536 4.5                    636 (1.3)                   2.24 (1.97 to 2.54
C            Suicidal ideation                                 7(0.1)                      19(0.0)                   L98 (0.78 to 5.07
'-r
           drugs prescribed ever in mast
O            anti- arkinsonian                                551(4.6)                   842(1.8)                    2.24 1.99 to 2.53
             antipsychotic                                   3394 28.2                  9233 (19.2)                  1.59 (1.51 to 1.67
             barbiturate                                       97(0.8)                   208 0.4                     1.73 (1.33 to 2.24
U)           benzodiaze ine                                  3974 33.0                  10300 (21.4)                 1.79 1.71 to 1.88
C
C            histamine H-2 receptor antagonist               2844 23.6                  8162 (16.9)                  1.60 1.51 to 1.68
             mood stabilizer                                   49(0.4)                    131 0.3                    1.91 (1.35 to 2.71
n            Opiate                                          2760 22.9                  7072 14.7                    1.93 1.83 to 2.04
D            proton pump inhibitor                           1251 (10.4)                 3584 7.4                    1.68 (1.56 to 1.81
           currently prescribed drags
             antidepressant                                   687 (5.7)                  1643 (3.4)                  1.61 (1.46 to 1.78)              0.89 (0.79 to
                                                                                                                                                         1.00 1
              cyclic                                          487 (4.04)                1198 (2.49)                  1.57 (1,40 to 1.77)              0.92 (0.80 to
                                                                                                                                                         1.05§
              SSRI/SSNRI                                      183 (1.52)                 399 (0.83)                  1.65 (1.36 to 1.99)              0.86 (0.69 to
                                                                                                                                                         I
                                                               21511.8)                  430 0.9                     1.61 .35 to 1.92
I'           anti psvchotic                                    736 6.1                   1290 2.7                    1.82 1.64 to 2.02
             barbiturate                                        46 0.4                    102 0.2                    1.64 (1.13 to 2.38
 c           benzodiazc ine                                   1377 11.4                  3265 (6.8)                  1.55 (1.44 to 1.67
             histamine 1-I-2 rece for anta onist               651 (5.4)                 1749 3.6                    1.37 (1.25 to 1.52
             mood stabilizer                                    170.1                     60(0.1)                    (.19 (0.68 102.09)
             opiate                                            576 4.8                   740 11.51                   3.29 (2.91 to 3.71
C             rotor pump inhibitor                             437 3.6                   1104(2.3)                   1.76 1,55 to 1.99
rr

O           Adjusted for age, sex, calendar year, and current use of an antidepressant drug

           'Adjusted for age, sex, calendar year, and any factor in Table I that changed the OR for exposure by ten percent or more.
C
C           Adjusted for age, sex, calendar year, number of non-depression GP visits in the prior six months, ever past benzodiazepine prescription, and ever past
C5         antipsychotic prescription
C
           S
           b Adjusted for age, sex, calendar year, number of non-depression GP visits in prior six months, number of non-antidepressant prescriptions in the prior
           month, ever past benzodiazepine prescription, and ever past antipsychotic prescription



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              SD denotes standard deviation

              GP denotes general practitioner

              OR denotes matched odds ratio

              CI denotes confidence interval
I
              SSRI/SSNRI denotes selective serotonin reuptake inhibitor / selective serotonin and norepinephrine reuptake inhibitor
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                                                                            Table 2.
         Characteristics of cases and controls of hospitalization for aspiration pneumonia or aspiration pneumonitis
                                                             Cases (N = 159)            Controls (N =
                                                                                               636
            median age in years interr uartile range           80 (75 to 86)             77 (72 to 82
z           mean (SD) number of GP non-                         3.16 (3.03)               0.84 (1.65)
            depression visits in prior six months
            mean (SD) number of non-                            4.09 (5.02)               2.33 (3.20)
            antidepressant prescriptions in prior
            month
10          mean (SD) number of hospital visits                 1.09 (1.38)               0.15 (0.61)
C           over rior six months
,-r
                                                                  N (%)                        N (%)               Minimally Adjusted OR                 Change-in-
O                                                                                                                       (95% CI)                           estimate
                                                                                                                                                        adjusted OR
                                                                                                                                                         ( 95% CI Y'
            male sex                                             84 52.8                  211 (36.0)                  2.57 (1.72 to 3.84
C           alcohol use                                          44 27.7                  204 (32.1)                  0.70 0.44 to 1.11
to          smoking                                              40 25.2                  146 23.0                    1.22 (0.76 to 1.97
C)
            diagnoses ever in past
              anterior horn motor neuron disease                  4 2.5                     0 0.0                         inestimable
              anxiety                                            22 13.8                  77 12.1                     1.43 (0.82 to 2.48
              bipolar disorder                                    0 0.0                     2 .03                         inestimable
              chronic obstructive pulmonary disease              29 18.2                   47(7.4)                    2.91 1.66 to 5.09
              cerebrovascular disease                            65 40.9                  69 10.9                     5.64 (3.51 to 9.05
              depression                                         35 (22.0)                101 (15.9)                  1.74 (1.03 to 2.95
              d s hagia                                          27 17.0                    8(1.3)                  23.11 (8.30 to 64.36
              herpetic neuralgia / herpes zoster                 17 10.7                   49 7.7                     1.77 (0.93 to 3.37
              insomnia                                           35 22.0                  126 19.8                    1.27 (0.78 to 2.08
rI            Parkinson's disease                                 6(3.8)                   4(0.6)                     6.91 (1.69 to 28.3
              poor nutritional status                             7 (4.4)                   2 (0.3)                  13.92 (2.67 to 72.69
              schizophrenic disorders                             2(1.3)                    1(0.2)                  30.42 2.19 to 423.2
-O            senile dementia                                     11(6.9)                   9(1.4)                    3.39 1.26 to 9.10
              suicidal ideation                                   1(0.6)                    1(0.2)                   10.01 0.49 to 205.8
            drugs prescribed ever in past
C             anti s chotic                                      57 35.9                  141 22.2                    2.04 1.33 to 3.14
if-
              anti-arkinsonian                                    15(9.4)                   6(0.9)                   10.81 (3.72 to 31.42
0             barbiturate                                         2 (1.3)                   6 0.9t                   2.32 (0.39 to 13.95
1
              benzodiaze ine                                     54 34.0                  163 25.6                    1.91 (1.25 to 2.93
              histamine H-2 receptor antagonist                  45 28.3                  131 20.6                    1.56 (1.02 to 2.39
N
              mood stabilizer                                     4 2.5                     2 0.3                    4.56 0.74 1028.24)
C             opiate                                             39 24.5                  116 18.2                    1.89 1.18 to 3.03
to             roton pump inhibitor                              3109.5)                   57(9.0)                    2.55 (1.48 to 4.38
C)
C           currently prescribed drugs
              antidepressant                                      11(6.9)                  28(4.4)                    L45 (0.65 to 3.24)                0.63 (0.2) to
                                                                                                                                                           1.71)2
              cyclic                                              6 3.8                    23 3.6
              SSRI/SSNRI                                          4(2.5)                    5 0.8
             anti s chotic                                        12(7.61                  250.9)                     1.43 0.64 to 3.22
             anti-arkinsonian                                      50.1)                    2(0.3)                   6.16 1.09 to 34.81
             barbiturate                                           1(0.6)                   3 (0.5)                  3.07 (0.22 to 42.11
             benzodiaze ine                                       12 7.6                   25 (3.9)                   0.88 (0.43 to 1.80
             histamine H-2 receptor antagonist                    7(4.4)                   25(3.9)                    1.00 (0.39 to 2.54
             mood stabilizer                                       1(0.6)                   0 0.0                         inestimable
             opiate                                               4(2.5)                   18(2.81                    1.20 (0.37 to 3.87
             proton pump inhibitor                                11(6.9)                  14(2.2)                    3.12 (1.24 to 7.85
             Adjusted for age, sex, calendar year, and current use of an antidepressant drug

C           tAdjusted for age, sex, calendar year, and any factor in Table 1 that changed the OR for exposure by ten percent or more,
O           *Adjusted for age, sex, calendar year, chronic obstructive pulmonary disease, dysphagia, senile dementia, ever past antipsychotic prescription, ever past
           benzodiazepine prescription, and current anti-parkinsonian agent
S1)
C          SD denotes standard deviation
C
           GP denotes general practitioner
C)
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           OR denotes matched odds ratio

           Cl denotes confidence interval



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          SSRI/SSNRI denotes selective serotonin reuptake inhibitor / selective serotonin and norepinephriue reuptake inhibitor




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